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UNTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
ROBERT MILTON,                                       :
                                                         19CV02770 (VEC)(OTW)
                          Plaintiff,                :
                                                         ORDER TO TAKE THE
        -against-                                   :    DEPOSITION OF AN
                                                         INCARCERATED INMATE
CORRECTION OFFICER REHMAN,                          :
ET AL.,
                                                    :
                           Defendants.
-----------------------------------------------------X

        It is ordered that counsel from the State of New York, Office of the Attorney General, may

take the deposition, by video, of incarcerated plaintiff inmate Robert Milton (DIN # 14A4359), at

Eastern Correctional Facility or any other facility maintained by the New York State Department

of Corrections and Community Supervision where Robert Milton is housed, on or before

November 16, 2020.

Dated: New York, New York
       October 16 , 2020

                                                         ________________________
                                                         Ona T. Wang
                                                         United States Magistrate
